     Case 2:10-cr-00236-GMN-PAL            Document 84    Filed 06/22/11       Page 1 of 2


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 6                                UNITED STATES DISTRICT COURT
 7                                        D IST RICT O F N EVA D A

 8 LJNITED STATES OF AMERICA,                         )
                                                      )
 9.                          plaintifr,               )                                                     .
lo11            v.                                    )
                                                      '        2:1()-cR-236-oMxtLRo
  ;1                                                  )
11jrSHARON J.WAGNER,
  li
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12                           Defendmat.               )                                                     '
13                                        ORDER OF FORFEITURE
14              On June 21,2011,defendmltSHARON J.W AGN ER , pled guilty to CountOneofa One-
l5       CotmtCrim inalIndictmentcharging herin CotmtOnewith conspiracy to comm itbank fraud, m ail
16       fraud andwirefraud in violationofTitle 18,United StatesCode, Sections1341,1343and 1344,and
17 ap eedtotheforfeitureofproperty setforth intheForfeitureAllegationsin theCrim inalIndictm ent
l8 and thePleaM emorandum .Docket//1.

l9        ThisCourtfindsthatSHARON J.W AGNER shallpayacriminalforfeituremoneyjudgment
20 of$67,745.00inUnited StatesCurrencytotheUnitedStatesofAmerica,ptlrsuanttoFed R .Crim .    .



21 P.32.2(b)(l)and(2),Title18,United StatesCode,Section981(a)(l)(C)andTitle28,UnitedStates
22 Code,Section2461(c);Title l8,United StatesCode,Section 982(a)(2)(A).
23       ...
24       ...
25       ...                                                                                                1

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J   Case 2:10-cr-00236-GMN-PAL      Document 84                    Filed 06/22/11   Page 2 of 2




           THEREFDRE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheunited
    Statesrecoverfrom SHARON J.W AGNER acriminalforfeituremoneyjudgmentintheamountof
    $67,745.00in United StatesCurrency.
           DATEDthis S
                     sf dayof                                         ,   2O11.



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                                                 U N ITE             A ES DISTRICT JUD GE

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